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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT
  PSAGOT MUTUAL FUNDS, LTD., and
                                                           Civ. A. No. 3:19-cv-01167-SRU
  PSAGOT PROVIDENT FUNDS & PENSION
  LTD.,

                   Plaintiffs,

           v.

  TEVA PHARMACEUTICAL INDUSTRIES
  LTD., et al.,

                   Defendants.                             October 16, 2019

                                     JOINT STATUS REPORT

         Pursuant to this Court’s September 11, 2019 Order (ECF No. 19), Plaintiffs Psagot

 Mutual Funds and Psagot Provident Funds & Pension Ltd. and Defendants Teva Pharmaceutical

 Industries Ltd., Teva Pharmaceuticals USA, Inc., Erez Vigodman, Eyal Desheh, Allan Oberman,

 Sigurdur Olafsson, Deborah Griffin, Yaacov Altman, Yitzhak Peterburg, Dipankar

 Bhattacharjee, Michael McClellan, Kåre Schultz, and Maureen Cavanaugh (collectively, the

 “Parties”) jointly submit this status report to the Court. The Parties state as follows:

         1.       This Action and 16 other direct and derivative actions pending in this District (the

 “Related Actions”) are related to the pending putative class action styled Ontario Teachers’

 Pension Plan Board, et al. v. Teva Pharmaceutical Industries Ltd., et al., Civil Action No. 3:17-

 cv-00558 (SRU) (the “Ontario Action”).

         2.       Per this Court’s September 11, 2019 Order (ECF No. 19), this Action was stayed

 pending a decision on the motions to dismiss filed by the defendants in the Ontario Action. The

 Order required the Parties to meet and confer within twenty-one (21) days of that decision, and

 propose to the Court a schedule for further proceedings or a further deferment of or motion to

 stay proceedings. Id.


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         3.       On September 25, 2019, this Court denied in substantial part the motions to

 dismiss of the majority of the defendants in the Ontario Action. (Ontario, ECF No. 283 (the

 “September 25 Order”).) 1

         4.       In this Action and the other Related Actions, the parties are currently engaged in

 meet and confer discussions in an effort to reach an agreement respecting the coordination and

 scheduling of further proceedings in all cases that will enable this Court and the parties to

 manage the litigations in an efficient and streamlined manner.

         5.       The parties in the Ontario Action have conducted the first Rule 26(f) parties’

 planning conference, and are continuing to confer concerning the items in the Rule 26(f) report

 to be submitted to the Court.

         6.       With the Court’s permission, the Parties will submit another joint status update,

 including a proposal addressing further proceedings in this Action, by the later of November 6,

 2019 or two weeks after this Court enters a scheduling order in the Ontario Action.

                                               Respectfully submitted,

 By: /s/ Erin Green Comite                            By: /s/ Jill M. O’Toole
     Erin Green Comite (ct24886)                          Jill M. O’Toole (ct27116)
     Margaret B. Ferron (ct28469)                         SHIPMAN & GOODWIN LLP
     SCOTT & SCOTT ATTORNEYS AT                           One Constitution Plaza
     LAW LLP                                              Hartford, Connecticut 06103-1919
     156 South Main Street                                Tel.:     (860) 251-5000
     P.O. Box 192                                         Fax:      (860) 251-5218
     Colchester, CT 06415                                 jotoole@goodwin.com
     Tel.: (860) 537-5537
     Fax: (860) 537-4432
     ecomite@scott-scott.com
     mferron@scott-scott.com



 1
  The September 25 Order granted in its entirety the motion to dismiss of Defendants Allan
 Oberman and Maureen Cavanaugh and directed the Clerk to terminate them as defendants in the
 Ontario Action.


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      Jeremy A. Lieberman (pro hac vice)       Jordan D. Hershman (pro hac vice)
      Michael J. Wernke (pro hac vice)         MORGAN, LEWIS & BOCKIUS LLP
      POMERANTZ LLP                            One Federal Street
      600 Third Avenue, 20th Floor             Boston, MA 02110-1726
      New York, New York 10016                 Tel: (617) 951-8000
      Tel.: (212) 661-1100                     Fax: (617) 951-8736
      Fax: (212) 661-8665                      jordan.hershman@morganlewis.com
      jalieberman@pomlaw.com
      mjwernke@pomlaw.com                      Counsel for Defendants


      Counsel for Plaintiffs




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